Case 2:04-cr-20409-.]DB Document 49 Filed 07/26/05 Page 1 of 2 Page|D 64

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UNITED STATES DISTRICT COURT maier it/)'V)[

    

WESTERN DISTRICT OF TENNESSEE , 8
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Western Dlvlsron 05 _M_, 26
UNITED sTA'rEs 0F AMERICA ‘z_; -_ irwin
Ci_i"_i:‘i\"'; bit r*.-.- “',-‘;;i-iiyr\i%
-vs- ease No. \Eeb4cr20409-Ma

DEMARCUS ROGERS

 

ORDER OF DETENT|ON PEND|NG TRIAL
F|ND|NGS
In accordance With the Bail Reform Act, 18 U.S.C. § 3142(f), a detention hearing has been
held. The following facts and circumstances require the defendant to be detained pending trial.

No condition or combination of conditions of release will reasonably assure the
appearance of the defendant as required or the safety of any other person and the
community

This conclusion is based on the findings and analysis of the matters enumerated in 18 U.S.C.
§ 3142(g) as stated on the record in open court at the detention hearing

DlRECTlONS REGARD|NG DETENT|ON

DEMARCUS ROGERS is committed to the custody of the Attomey General or his designated representative
for confinement in a corrections facility separate, to the extent practicable, from persons awaiting or serving sentences
or being held in custody pending appeal. DEMARCUS ROGERS shall be afforded a reasonable opportunity for
private consultation with defense counsel. On order cfa Court of the United States or on request of an attorney for the
government, the person in charge of the corrections facility shall deliver the Defendant to the United States marshal for
the purpose of an appearance in connection with a Court proceeding

 

Date: July 26, 2005

 

v

TU M. PHAM
UNITED STATES MAGISTRATE JUDGE

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Notice of Distribution

This notice confirms a copy of` the document docketed as number 49 in
case 2:04-CR-20409 Was distributed by faX, mail, or direct printing on
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Honorable Sarnuel Mays
US DISTRICT COURT

